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 5
                               UNITED STATES DISTRICT COURT
 6
                           EASTERN DISTRICT OF WASHINGTON
 7

 8   LINTON WILLIAMS, and all other            )
     similarly situated,                       )       NO. CV-05-0099-LRS
 9                                             )
                      Plaintiff,               )       ORDER
10                                             )
          -vs-                                 )
11                                             )
     JBC LEGAL GROUP, P.C., a                  )
12   California Professional                   )
     Corporation, JBC & Associates,            )
13   P.C., Jack Hagop Boyajian,                )
                                               )
14                    Defendants.              )
                                               )
15
          BEFORE THE COURT is Defendants’ Motion For Summary Judgment or
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     Alternatively Motion for Partial Summary Judgment Pursuant to FRCP 56
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     (Ct. Rec. 36), filed June 12, 2006; and Defendants’ Motion to Strike
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     Improper References to Unpublished Cases In Plaintiff's Opposition To
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     Defendants' Motion For Summary Judgment and For Sanctions, To Be Heard
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     on Expedited Basis (Ct. Rec. 54), filed August 22, 2006.                 A telephonic
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     hearing was held August 31, 2006. Michael Kinkley participated on behalf
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     of the Plaintiff; June Coleman participated on behalf of Defendants. The
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     Court having considered the oral and written argument of counsel, enters
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     this Order to memorialize the oral ruling of the Court, which is
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     incorporated herewith.      Accordingly,
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          IT IS ORDERED that:

     ORDER - 1
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 1        1.   Defendants’ Motion for Summary Judgment or Alternatively Motion
 2   for Partial Summary Judgment Pursuant to FRCP 56, Ct. Rec. 36, is GRANTED
 3   in part and DENIED in part.
 4        A.   Summary judgment is          DENIED   with      respect   to   the   unlawful
 5               misrepresentation in the collection of debts under the Fair
 6               Debt Collection Practices Act, 15 U.S.C. §1692 (“FDCPA”).
 7        B.     Summary judgment is DENIED with respect to the lack of debt
 8               collection license alleged to be in violation of the FDCPA.
 9        C.     Summary judgment is GRANTED with respect to the FDCPA §1692e(3)
10               claim based on the amount sought to be recovered.
11        D.     Summary judgment is GRANTED with respect to the FDCPA §1692e(3)
12               claim based on letters being written on law firm letterhead.
13        E.     Summary judgment is GRANTED with respect to the FDCPA §1692e(3)
14               claim based on alleged lack of meaningful involvement.
15        F.     Summary judgment is DENIED with respect to the FDCPA §1692e(3)
16               claim based on misrepresentation of future civil or criminal
17               action.
18        G.     Summary judgment is GRANTED with respect to the Washington
19               Collection Agency Act (“WCAA”).             The WCAA does not provide a
20               private right of action.
21        H.     Summary judgment is GRANTED with respect to the lack of debt
22               collection license alleged to be in violation of the WCAA.
23               The WCAA does not provide a private right of action.
24        I.     Summary judgment is DENIED with respect to the Washington
25               Consumer Protection Act.
26        J.     Summary judgment is        DENIED   with      respect   to   the   unlawful


     ORDER - 2
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 1                practice of law claim.
 2        K.      Summary judgment is DENIED with respect to the alleged lack of
 3                Article III standing claim.
 4        2.      Defendants’ Motion to Strike Improper References to Unpublished
 5   Cases   In   Plaintiff's   Opposition     To    Defendants'     Motion   For      Summary
 6   Judgment and For Sanctions, To Be Heard on Expedited Basis, Ct. Rec. 54,
 7   is GRANTED.      The Court reserves the right to base its ruling on all
 8   published decisions.
 9        The District Court Executive is directed to file this Order and
10   provide copies to counsel.
11        DATED this 5th day of September, 2006.
12                                                            s/Lonny R. Suko
13                                                          LONNY R. SUKO
                                                    UNITED STATES DISTRICT JUDGE
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     ORDER - 3
